Case 2:05-cr-20226-.]PI\/| Document 4 Filed 07/13/05 Page 1 of 2 Page|D 5

U'NITED STATES DISTRICT COURT
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WESTERN DISTRICT OF TEN'NESSEE
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THOMAS M G::'-J;.D

' ,S. §STRHI?[XN}HT
CR~ N°~ °S'WP¥ ,rzi&z;»“»;-HS

UNITED STATES OF AMERICA
vs.

ARGUESS BAKER

v \_¢\_/~_¢~_r

APPLICATION ORDER and WRIT FOR HABEAS CORPUS A.'D PROSE UEN'DU'M

 

The United States Attorney's Offioe applies to the Court for a Writ
to have ARGUESS BAKERl DOB: 09[18[1978l RNI: 236519, now being detained
in the Criminal Justice Center, 201 Poplar Aye., Memphis, TN, appear
before the Honorable Diane K. Vescovo on Monday, July J.Sth.r 2005 @ 2:00
p.m. for Initial Appearance and for such other appearances as this Court
may direct.

Respectfully submitted this l§th day of July, 2005.

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STEPHEN P. HALL
Assistant U. S. Attorney

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Upon consideration of the foregoing Application, DAvH)JommY, U.S.
MARSHAL, WESTERN DIsTRIcT oF TENNsssEE, MEMPHIS, TN., SHERIFF/WLRREN, SHsLsY CouNTY
CRIMINAL JUsTIcE CENTER, MENPHIS, 12¢.

YOUR ARE HEREB'Y COMMANDED to have ARGUESS BAKER DOB: 09 18 1978

 

RNI: 236519, appear before the Honorable Diane K. Vescovo at the date and
time aforementioned.

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ENTERED this 1551 day of July, 2005.

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U'NITED STATES MAGISTRATE JUDGE

Th|s document entered on the docket sheet i compliance
with ama 55 and/or 32(:>) mch on fZ '/Z'OS

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CR-20226 Was distributed by faX, mail, or direct printing on
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Stephen P. Hall

U.S. ATTORNEY'S OFFICE
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Honorable J on McCalla
US DISTRICT COURT

